Case 1:04-cr-10061-.]DT Document 150 Filed 05/23/05 Page 1 of2 § e|D 172

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IN THE UNITED STATES DISTRICT COURT 1239
FOR THE WESTERN DISTRICT OF TE

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UNITIED sTATEs oF AMERICA, ) z/¢H%
) J;j O,s
Plaimiff, ) /”"
)
v. ) Cr. No. 04-10061-05-T/An
)
PATRICK PEARS oN, )
)
Defendant. )

 

ORDER GRANTING DEFENDANT PATRICK PEARSON A TEN-DAY
EXTENSION OF TIME IN WHICH TO FILE PRE-TRIAL MOTIONS

 

Defendant Patriok Pearson moves the Court for an extension of time in
which to tile pre-trial motions. Defendant has shown good cause for seeking this
extension. Accordingly, Defendant’S deadline for filing pre-trial motions shall be
extended to May 30, 2005.

IT IS SO ORDERED.

 

W,WL.ML

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Date

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 150 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

